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 7
                         UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9

10    ROBERT HARLEY FISHER AND                 Case No.: 5:18-cv-00700
11
      PAULA MARIE FISHER,
                                        THIRD AMENDED COMPLAINT
12        Plaintiffs,                   FOR VIOLATIONS OF FEDERAL
13       vs.                            CONSTITUTIONAL RIGHTS
                                        UNDER COLOR OF LAW (42 U.S.C.
14
      COUNTY OF SAN BERNARDINO,         § 1983); UNREASONABLE SEIZURE
15    LANCE D. HIGGINS, KEVIN ALLEN, OF PERSON (U.S. CONST. AMEND
16    DONALD A. PATTON, JASON A.        IV); UNREASONABLE USE OF
      COSTA, OSWALDO RODRIGUEZ,         FORCE (U.S. CONST. AMEND IV);
17
      JONATHAN THORP, JONATHAN          UNREASONABLE SEARCH AND
18    MILLARD, LINDSAY ELISE            SEIZURE OF PROPERTY (U.S.
      CRISTOBAL, and DOES 1 through 10, CONST. AMEND IV); DENIAL OF
19                                      SUBSTANTIVE DUE PROCESS OF
      INCLUSIVE,
20                                      LAW (U.S. CONST. AMEND XIV);
         Defendants.                    RETALIATION FOR PROTECTED
21
                                        SPEECH (U.S. CONST. AMEND I);
22                                      MALICIOUS PROSECUTION (U.S.
                                        CONST. AMEND IV & XIV);
23
                                        CALIFORNIA STATE LAW CLAIMS
24                                      FOR VIOLATION OF BANE ACT
25                                      (CAL. CIV. CODE § 52.1); FALSE
                                        ARREST, CONVERSION, INVASION
26                                      OF PRIVACY, INTENTIONAL
27                                      INLICTION OF EMOTIONAL
                                        DISTRESS
28
                                        JURY TRIAL DEMANDED

                        THIRD AMENDED COMPLAINT FOR DAMAGES
                                         1
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 1
            COME NOW plaintiffs ROBERT HARLEY FISHER and PAULA
 2
      MARIE FISHER, and shows this honorable court the following:
 3

 4                          JURISDICTIONAL ALLEGATIONS
 5
            1.     As this action is brought under 42 U.S.C. § 1983, this court has
 6
      jurisdiction over this case under its federal question jurisdiction pursuant to 28
 7
      U.S.C. § 1331.
 8
            2.     As the incidents complained of in this action occurred in the County
 9

10
      of San Bernardino, State of California, within the territorial jurisdiction of this

11
      court, venue properly lies in this court pursuant to 28 U.S.C. § 1391(b)(2).

12          3.     As plaintiffs’ claims brought under California state law arise out of
13    the same transactions and occurrences and out of a common nucleus of operative
14    facts as the plaintiffs’ federal questions claims, this court may exercise
15    supplemental jurisdiction over the plaintiffs’ California state law claims pursuant
16    to 28 U.S.C. § 1367, and otherwise pursuant to United Mine Workers of America
17    v. Gibbs, 383 U.S. 715 (1966).
18          4.     Plaintiffs timely filed their Claims For Damages against the County
19    of San Bernardino on or about August 22, 2017, pursuant to the California Tort
20
      Claims Act, Cal. Gov’t. Code § 900 et seq., and said claim has been denied by
21
      defendant County of San Bernardino on or about October 5, 2017, less than six
22
      months prior to the filing of this instant action.
23

24
                                 GENERAL ALLEGATIONS
25

26          5.     Plaintiff Robert Harley Fisher, hereinafter referred to as “ROBERT
27    FISHER,” is a natural person who, at all times complained of in this action,
28    resided in the State of California. Plaintiff Robert Fisher is/was the legal and

                         THIRD AMENDED COMPLAINT FOR DAMAGES
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 1    natural father of plaintiffs’ minor children, “S.F.” and “A.F.” Plaintiff ROBERT
 2    FISHER is also a full-time sworn peace officer / police Lieutenant with the
 3
      Banning Police Department in Banning, California.
 4
            6.      Plaintiff PAULA MARIE FISHER, hereinafter referred to as
 5
      “PAULA FISHER,” is a natural person who, at all times complained of in this
 6
      action, resided in the State of California. PAULA FISHER is the wife of plaintiff
 7
      ROBERT FISHER, and the legal and natural mother of minor children, “S.F.” and
 8
      “A.F.”
 9
            7.      Plaintiffs’ minor child, S.F., hereinafter referred to as “S.F.,” is a
10
      natural person who, at all times complained of in this action, was the legal and
11
      natural daughter of her parents, plaintiffs ROBERT FISHER and PAULA
12

13
      FISHER.

14
            8.      Plaintiffs’ minor child, A.F., hereinafter referred to as “A.F.,” is a

15    natural person who, at all times complained of in this action, was the legal and
16    natural son of his parents, plaintiffs ROBERT FISHER and PAULA FISHER.
17          9.      Defendant County of San Bernardino, hereinafter also referred to as
18    “County of San Bernardino” or “COUNTY,” is a political subdivision of the State
19    of California and is a municipal entity located within the territorial jurisdiction of
20    this Honorable Court.
21          10.     Defendant Lance D. Higgins, hereinafter referred to as “HIGGINS,”
22    is, and was at all times complained of herein, employed as a full-time sworn
23    Deputy Sheriff with the San Bernardino County Sheriff’s Department (hereinafter
24
      “San Bernardino County Sheriff’s Department” and/or “SBSD”). At all times
25
      complained of herein, HIGGINS was acting as an individual person under the
26
      color of state law, pursuant to his status as a Deputy Sheriff, and was acting in the
27
      course of and within the scope of his employment with defendant County of San
28
      Bernardino.
                         THIRD AMENDED COMPLAINT FOR DAMAGES
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 1          11.     Defendant Kevin Allen, hereinafter referred to as “ALLEN,” is, and
 2    was at all times complained of herein, employed as a full-time sworn Deputy
 3
      Sheriff with the San Bernardino County Sheriff’s Department. At all times
 4
      complained of herein, ALLEN was acting as an individual person under the color
 5
      of state law, pursuant to his status as a Deputy Sheriff, and was acting in the
 6
      course of and within the scope of his employment with defendant County of San
 7
      Bernardino.
 8
            12.     Defendant Donald A. Patton, hereinafter referred to as “PATTON,”
 9
      is, and was at all times complained of herein, employed as a full-time sworn
10
      Deputy Sheriff with the San Bernardino County Sheriff’s Department. At all times
11
      complained of herein, PATTON was acting as an individual person under the
12

13
      color of state law, pursuant to his status as a Deputy Sheriff, and was acting in the

14
      course of and within the scope of his employment with defendant County of San

15    Bernardino.
16          13.     Defendant Jason A. Costa, hereinafter referred to as “COSTA,” is,
17    and was at all times complained of herein, employed as a full-time sworn Deputy
18    Sheriff with the San Bernardino County Sheriff’s Department. At all times
19    complained of herein, COSTA was acting as an individual person under the color
20    of state law, pursuant to his status as a Deputy Sheriff, and was acting in the
21    course of and within the scope of his employment with defendant County of San
22    Bernardino.
23          14.     Defendant Oswaldo Rodriguez, hereinafter referred to as
24
      “RODRIGUEZ,” is, and was at all times complained of herein, employed as a
25
      full-time sworn Deputy Sheriff with the San Bernardino County Sheriff’s
26
      Department. At all times complained of herein, RODRIGUEZ was acting as an
27
      individual person under the color of state law, pursuant to his status as a Deputy
28


                         THIRD AMENDED COMPLAINT FOR DAMAGES
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 1    Sheriff, and was acting in the course of and within the scope of his employment
 2    with defendant County of San Bernardino.
 3
            15.     Defendant Jonathan Thorp, hereinafter referred to as “THORP,” is,
 4
      and was at all times complained of herein, employed as a full-time sworn Deputy
 5
      Sheriff with the San Bernardino County Sheriff’s Department. At all times
 6
      complained of herein, THORP was acting as an individual person under the color
 7
      of state law, pursuant to his status as a Deputy Sheriff, and was acting in the
 8
      course of and within the scope of his employment with defendant County of San
 9
      Bernardino.
10
            16.     Defendant Jonathan Millard, hereinafter referred to as “MILLARD,”
11
      is, and was at all times complained of herein, employed as a full-time sworn
12

13
      Social Service Practitioner with the with the Child and Family Services Division

14
      of the County of San Bernardino. At all times complained of herein, MILLARD

15    was acting as an individual person under the color of state law, pursuant to his
16    status as a Social Service Practitioner with the Child and Family Services Division
17    of the County of San Bernardino, and was acting in the course of and within the
18    scope of his employment with defendant County of San Bernardino.
19          17.     Defendant Lindsay Elise Cristobal, hereinafter referred to as
20    “CRISTOBAL,” is, and was at all times complained of herein, employed as a full-
21    time sworn Social Service Practitioner with the Child and Family Services
22    Division of the County of San Bernardino. At all times complained of herein,
23    CRISTOBAL was acting as an individual person under the color of state law,
24
      pursuant to his status as a Social Service Practitioner, and was acting in the course
25
      of and within the scope of her employment with defendant County of San
26
      Bernardino.
27
            18.     Defendants DOES 1 through 6, inclusive, are sworn peace officers
28
      and/or deputy sheriffs and/or supervisors and/or investigators and/ Special
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          5
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 1    Officers and/or a dispatchers and/or Social Services Practitioners and/or some
 2    other public officer, public official or employee of defendant County of San
 3
      Bernardino, who in some way committed some or all of the tortious actions (and
 4
      constitutional violations) complained of in this action, and/or are otherwise
 5
      responsible for and liable to plaintiffs for the acts complained of in this action,
 6
      whose identities are unknown to plaintiffs.
 7
            19.    At all times complained of herein, DOES 1 through 6, inclusive, were
 8
      acting as individual persons under color of state law, pursuant to their authority as
 9
      sworn peace officers and/or deputy sheriffs and/or Special Officers and/or police
10
      officers and/or Supervisors (i.e. Sergeants, Lieutenants, Captains, Commanders,
11
      etc.) and/or Social Services Practitioners and/or dispatchers, employed by
12

13
      defendant County of San Bernardino, and were acting in the course of and within

14
      the scope of their employment with defendant County of San Bernardino.

15          20.    Defendants DOES 7 through 10, inclusive, are sworn peace officers
16    and/or Supervisors and/or Commanders and/or Captains and/or Lieutenants and/or
17    Sergeants and/or Detectives and/or other Supervisory personnel (such as) and/or
18    policy making and/or final policy making officials, employed by the County of
19    San Bernardino, who are in some substantial way liable and responsible for, or
20    otherwise proximately caused and/or contributed to the occurrences complained of
21    by plaintiffs in this action, such as via supervisory liability (i.e. failure to properly
22    supervise, improperly directing subordinate officers, approving actions of
23    subordinate officers), via bystander liability (failing to intervene in and stop
24
      unlawful actions of their subordinates and/or other officers), and such as by
25
      creating and/or causing the creation of and/or contributing to the creation of the
26
      policies and/or practices and/or customs and/or usages of the County of San
27
      Bernardino for: 1) for unlawfully taking and detaining the children of persons by
28


                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          6
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 1    using false statements of material facts1 with deliberate indifference and malice;
 2    2) for unlawfully seizing persons; 3) for unlawful searching and seizing persons
 3
      and their personalty / property; 4) for falsely arresting and falsely imprisoning
 4
      persons; 5) for fabricating / destroying / concealing / altering / withholding
 5
      evidence in criminal and civil actions, and for otherwise “framing” persons in
 6
      criminal actions, in order to falsely and maliciously, oppressively convict innocent
 7
      persons, to protect them and other deputy sheriffs, social service practitioners and
 8
      supervisory personnel from civil, administrative and criminal liability; 6) for
 9
      interfering with persons’ and/or otherwise violating persons’ constitutionally
10
      protected right to free speech; 7) for defaming peace officers to their employers
11
      with false allegations of criminal conduct with spite, hatred and ill-will; 8) for
12

13
      covering-up unlawful and tortious conduct by County of San Bernardino

14
      personnel, and were a proximate cause of the very same California state law, and

15    federal and state constitutional violations complained above, and complained of
16    by the plaintiffs in this action.
17             21.     At all times complained of herein, DOES 7 through 10, inclusive,
18    were acting were acting as individual persons acting under the color of state law,
19    pursuant to their authority as Deputy Sheriffs and/or Supervisory Officers,
20    Commanders and/or Captains and/or Lieutenants and/or Sergeants and/or other
21    Supervisory personnel and/or policy making and/or final policy making officials,
22    employed by the County of San Bernardino, and/or some other public official(s)
23    with County of San Bernardino, and were acting in the course of and within the
24
      scope of their employment with defendant County of San Bernardino.
25
               22.     Moreover, at all times complained of herein, defendants DOES 1
26

27

28
      1
          And omissions of material facts.
                             THIRD AMENDED COMPLAINT FOR DAMAGES
                                              7
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 1    through 10, inclusive, were acting pursuant to, or otherwise contributed to the
 2    creation and maintenance of, the customs, policies, usages and practices of the
 3
      County of San Bernardino, for, inter alia: 1) for unlawfully taking and detaining
 4
      the children of persons by using false statements of material fact with deliberate
 5
      indifference and malice; 2) for unlawfully seizing persons; 3) for unlawful
 6
      searching and seizing persons and their personalty / property; 4) for falsely
 7
      arresting and falsely imprisoning persons; 5) for fabricating / destroying /
 8
      concealing / altering / withholding evidence in criminal and civil actions, and for
 9
      otherwise “framing” persons in criminal actions, in order to falsely and
10
      maliciously, oppressively convict innocent persons, to protect them and other
11
      deputy sheriffs, social service practitioners and supervisory personnel from civil,
12

13
      administrative and criminal liability; 6) for interfering with persons’ and/or

14
      otherwise violating persons’ constitutionally protected right to free speech; 7) for

15    defaming peace officers to their employers with false allegations of criminal
16    conduct with spite, hatred and ill-will; 8) for covering-up unlawful and tortious
17    conduct by County of San Bernardino personnel, and were a proximate cause of
18    the very same California state law, and federal and state constitutional violations
19    complained above, and complained of by the plaintiff in this action.
20          23.    In addition to the above and foregoing, defendants DOES 1 through
21    6, inclusive, acted pursuant to a conspiracy, agreement and understanding and
22    common plan and scheme to deprive the plaintiffs ROBERT FISHER and
23    PAULA FISHER of their federal Constitutional and statutory rights, as
24
      complained of in this action, and acted in joint and concerted action to so deprive
25
      plaintiffs ROBERT FISHER and PAULA FISHER of those rights as complained
26
      of herein; all in violation of 42 U.S.C. § 1983, and otherwise in violation of
27
      United States (Constitutional and statutory) law.
28
            24.    Said conspiracy / agreement / understanding / plan / scheme / joint
                        THIRD AMENDED COMPLAINT FOR DAMAGES
                                         8
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 1    action / concerted action, above-referenced, was a proximate cause of the
 2    violation of the plaintiffs ROBERT FISHER’s and PAULA FISHER’s federal and
 3
      state constitutional and statutory rights, as complained of herein.
 4
            25.    Plaintiffs are presently unaware of the identities of DOES 1 through
 5
      10, inclusive, and will amend this complaint to add and to show the actual names
 6
      of said DOE defendants, when ascertained by plaintiffs.
 7

 8
                    INCIDENT THAT GAVE RISE TO LITIGATION
 9

10          26.    In the weeks prior to the subject incident, plaintiffs’ daughter S.F.
11    made several unsubstantiated claims and obviously false of child abuse by her
12    mother, plaintiff PAULA FISHER, to her church, school counselors, teachers and
13    Child and Family Services personnel for the purpose of getting sympathy of her
14    classmates. None of the allegations of the plaintiffs’ minor child S.F. were found
15    to be true and none were true.
16          27.    More specifically, defendant CRISTOBAL interviewed the plaintiffs’
17
      minor child S.F. at her school on or about January 12, 2017. No concerns were
18
      claimed or shown by defendant CRISTOBAL after the interview, because none of
19
      the allegations of child abuse were true.
20
            28.    Moreover, on or about January 26, 2017, the plaintiffs’ minor child
21
      S.F. was again interrogated and physically inspected at her school by defendant
22
      CRISTOBAL, who relayed the lack of evidence of any child abuse whatsoever to
23
      defendant HIGGINS on or about that date, and said defendants refused to close
24
      the investigations of the plaintiff ROBERT FISHER and PAULA FISHER,
25
      despite knowing and believing that the allegations of child abuse were
26

27

28


                        THIRD AMENDED COMPLAINT FOR DAMAGES
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 1     unsubstantiated and obviously and patently false2.
 2           29.    Thereafter, on February 7, 2017, an unknown school counselor
 3
       referred another allegation of child abuse purportedly by the plaintiffs’ minor
 4
       child S.F. to the Child and Family Services Division of the County of San
 5
       Bernardino. Once again, those allegations of bruising of the minor child S.F. were
 6
       also unsubstantiated.
 7
             30.    That same day, February 7, 2017, a friend of the plaintiffs’ minor
 8
       child S.F. reported to the Child and Family Services Division of the County of
 9
       San Bernardino that the minor child S.F. may try and hurt herself, which report
10
       was conveyed to a deputy named “Herbert”, a DOE defendant, of the San
11
       Bernardino County Sheriff’s Department.
12

13
             31.    Thereafter, on February 9, 2017, two San Bernardino County

14
       Sheriff’s Department deputy sheriffs, defendant THORP and another deputy

15     sheriff named Ian Alvarado, went to the minor child S.F.’s school to do a welfare
16     check. Once again, the allegations of child abuse against ROBERT FISHER and
17     PAULA FISHER were found to be unsubstantiated and unfounded.
18           32.    That same day, February 9, 2017, defendants THORP and
19     CRISTOBAL detained and interviewed plaintiffs’ minor child S.F. without the
20     consent of the parents at her school, and created a custodial environment and a
21     custodial interrogation in which the plaintiffs’ minor child was not free to leave
22     and was involuntarily detained and interrogated, nor was the child advised of her
23     right to counsel and right against self-incrimination after being detained and
24
       before being interrogated at school by defendants THORP and CRISTOBAL.
25

26

27

28
       2
        At this time defendant CRISTOBAL noted that the minor child S.F. “did not
       have any abnormal bruising or discoloration on her.”
                         THIRD AMENDED COMPLAINT FOR DAMAGES
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 1     Once again, all allegations of child abuse were found unsubstantiated, and
 2     defendant THORP did not author any police report at that time.3
 3
              33.    Thereafter, on February 21, 2017, defendant HIGGINS went to
 4
       plaintiffs’ minor child’s school to re-interview plaintiffs’ minor child S.F. without
 5
       the consent of the parent. Defendant HIGGINS interrogated S.F. in a custodial
 6
       environment without advising her of her rights. During this interview, S.F. told
 7
       defendant HIGGINS that her mother, plaintiff PAULA FISHER, had kicked her,
 8
       pushed her into a wall, and made her take unknown pills that made her throw up—
 9
       all of these statements being false and unsubstantiated.
10
              34.    Defendant HIGGINS did not author a police report based upon his
11
       February 21, 2017 interrogation of S.F. until 6 days later on February 27, 2016.
12

13
              35.    On February 22, 2017, a friend of the plaintiffs’ daughter S.F. named

14
       “Mary” reported to a school counselor that S.F. had sent her a picture on

15     “SnapChat”4 which showed a nosebleed purportedly caused by PAULA FISHER.
16     However, this allegation was entirely false, as the bleeding was the result of S.F.’s
17     history of chronic nosebleeds. In fact, S.F. has had surgery on her nasal cavity to
18     stop the nosebleeds. Information regarding S.F.’s history of nosebleeds was
19     available to defendants, and would have been easily discoverable with reasonable
20     investigation.
21            36.    After receiving the aforementioned information from “Mary,” a
22     school counselor named “Reichmann” reported S.F.’s nosebleed to defendant
23     HIGGINS, who interviewed “Mary.”
24

25

26
       3
27       Defendant THORP authored a report regarding his custodial interrogation of plaintiffs’ minor
       child 17 days later on February 26, 2017.
       4
28       SnapChat is a popular cellular telephone application which users may use to send text
       messages, photographs, and videos.
                           THIRD AMENDED COMPLAINT FOR DAMAGES
                                            11
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 1             37.   On February 23, 2017, Plaintiff ROBERT FISHER received a phone
 2     call from defendant CRISTOBAL, who told him that S.F. had a nosebleed and
 3
       that it had been reported to the County of San Bernardino Division of Child and
 4
       Family Services. During this 11-minute conversation, plaintiff ROBERT FISHER
 5
       told defendant CRISTOBAL that Child and Family Services was welcome to
 6
       conduct any forensic interview and medical examination of S.F. Plaintiff
 7
       ROBERT FISHER also told defendant CRISTOBAL that he and PAULA
 8
       FISHER had nothing to hide, and would be available for an interview at a neutral
 9
       location.
10
               38.   Later that day, February 23, 2017, defendant HIGGINS initiated
11
       surveillance upon the plaintiffs’ home and found no activity. Defendant HIGGINS
12

13
       and DOES 1 and 2 then returned to the police station and looked up the plaintiffs’

14
       daughter’s grandmother’s address in Redlands, California. When defendants

15     HIGGINS and ALLEN arrived at the grandmother’s (Wilma Fisher’s) house in
16     Redlands, there was no one home.
17             39.   Thereafter, defendants HIGGINS, ALLEN and DOES 1 and 2
18     returned to the plaintiffs’ residence and knocked on the door, but there was no one
19     home.
20             40.   Upon returning to the sheriff’s substation, defendant HIGGINS and
21     DOES 1 and 2 advised their sergeant, an unidentified DOE deputy, of the
22     foregoing facts and began authoring a search warrant for the FISHER family
23     home and an interview warrant for plaintiffs’ minor child S.F.
24
               41.   Thereafter, defendant HIGGINS and DOES 1 and 2 asked defendant
25
       ALLEN to return to the grandmother’s (Wilma Fisher’s) house. During her
26
       interview with defendant ALLEN and DOES 1 and 2, Wilma Fisher denied
27
       knowing of any child abuse. Wilma Fisher was truthful, as no child abuse had in
28
       fact taken place in the FISHER residence.
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           12
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 1           42.    Defendant ALLEN and DOES 1 and 2 then telephoned plaintiff
 2     ROBERT FISHER, who told defendant ALLEN and DOES 1 and 2 that his
 3
       daughter was home. Plaintiff ROBERT FISHER then told defendant ALLEN and
 4
       DOES 1 and 2 that he did not want officers at his home drawing attention from his
 5
       neighbors, nor did he wish to go to the sheriff’s substation. However, plaintiff
 6
       ROBERT FISHER told defendant ALLEN that he would bring his wife and
 7
       daughter for an interview at a neutral place.
 8
             43.    Defendants HIGGINS, ALLEN and DOES 1 through 10, inclusive,
 9
       were angered by plaintiff ROBERT FISHER’s refusal to let officers into his home
10
       and defendants HIGGINS, ALLEN and DOES 1 through 10, inclusive, refused to
11
       meet plaintiff ROBERT FISHER, PAULA FISHER, and S.F. at a neutral place.
12

13
             44.    Moreover, defendant ALLEN threatened to contact plaintiff

14
       ROBERT FISHER’s employer, the Banning Police Department, in an attempt to

15     create a disciplinary action against plaintiff ROBERT FISHER and thereby cause
16     him to lose his position as a police sergeant.
17           45.    At that time, plaintiff ROBERT FISHER asked S.F. about reports of
18     a nosebleed, and S.F. told ROBERT FISHER she did not know anything about a
19     nosebleed.
20           46.    Furthermore, defendants HIGGINS, ALLEN and DOES omitted
21     from their police reports the material fact that plaintiff ROBERT FISHER was
22     cooperating with their investigation and that plaintiff ROBERT FISHER was
23     willing to meet with defendants HIGGINS and ALLEN to interview PAULA
24
       FISHER and daughter at a neutral place other than the sheriff’s substation or the
25
       family home.
26
             47.    Later that same day, on February 23, 2017, while surveilling
27
       plaintiffs ROBERT FISHER and PAULA FISHER’s home, defendant HIGGINS
28
       saw the plaintiffs ROBERT FISHER and PAULA FISHER leave their residence
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          13
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 1     and get into their car.
 2           48.    Determined to falsely arrest plaintiffs ROBERT FISHER and
 3
       PAULA FISHER, defendant HIGGINS concocted a ruse to detain plaintiffs
 4
       whereby HIGGINS would claim to believe the plaintiffs’ minor daughter S.F. was
 5
       in the car with her parents—something he knew was not true, since he had been
 6
       surveilling the plaintiffs ROBERT FISHER and PAULA FISHER.
 7
             49.    Thereafter, on February 23, 2017 at approximately 6:30 p.m., on
 8
       Glen Oak Road in the City of Yucaipa, under the ruse of “checking the welfare”
 9
       of S.F., defendant HIGGINS, and DOES 1 through 10, inclusive, conducted a
10
       traffic stop of the plaintiffs ROBERT FISHER and PAULA FISHER’s car
11
       without a warrant or probable cause or a reasonable suspicion that plaintiff
12

13
       ROBERT FISHER and his wife PAULA FISHER had committed a crime.

14
             50.    Soon thereafter, defendants ALLEN, RODRIGUEZ, PATTION and

15     other DOES San Bernardino County deputy sheriffs arrived and also participated
16     in the detention of plaintiffs ROBERT FISHER and PAULA FISHER.
17           51.    Defendant HIGGINS, ALLEN, RODRIGUEZ, PATTON and/or
18     DOES 1 through 10 inclusive, told the plaintiffs ROBERT FISHER and PAULA
19     FISHER that they were being detained for questioning about their minor daughter
20     S.F. After being asked about the whereabouts of his daughter, plaintiff ROBERT
21     FISHER told defendant HIGGINS and DOES 1 through 10, inclusive, that his
22     daughter was safe at home and she was fine.
23           52.    Plaintiff ROBERT FISHER then asked if any of the aforementioned
24
       defendants had their belt recorders on, to which defendant SBSD deputies replied
25
       that they did not. This prompted plaintiff ROBERT FISHER to attempt to record
26
       the subject incident with his cell phone video recorder, which angered defendants
27
       HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1 through 10, inclusive.
28
             53.    Thereafter, defendant(s) HIGGINS and/or ALLEN and/or
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           14
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 1     RODRIGUEZ and/or PATTON and/or DOES 1 through 10, inclusive, handcuffed
 2     and falsely arrested PAULA FISHER and placed her in defendant RODRIGUEZ’
 3
       patrol car.
 4
              54.    While handcuffed in the back of defendant RODRIGUEZ’s patrol
 5
       car, defendant RODRIGUEZ told PAULA FISHER that “This was blown out of
 6
       proportion and could have been handled differently.”
 7
              55.    After the aforementioned defendants handcuffed and arrested
 8
       plaintiff PAULA FISHER, plaintiff ROBERT FISHER then demanded that he be
 9
       released for detention. Defendant HIGGINS told Plaintiff ROBERT FISHER that
10
       he was only free to go back to his residence and to let defendants into his home so
11
       that they could search it without a warrant. When ROBERT FISHER refused to
12

13
       agree to let defendants into his home, plaintiff handcuffed and arrested by

14
       defendant ALLEN.

15            56.    After handcuffing and arresting plaintiff ROBERT FISHER,
16     defendant ALLEN told plaintiff ROBERT FISHER he was being arrested for
17     “obstruction” of his investigation because of plaintiff ROBERT FISHER’s refusal
18     to consent to a search of his home.
19            57.    Defendant HIGGINS fabricated false material statements of fact in
20     his police report of the subject incident, on one hand demanding that plaintiff
21     ROBERT FISHER leave the scene of the detention and allow said defendant
22     officers into his home without any fears for officer safety, while on the other hand
23     falsely stating in his police report after plaintiffs’ refusal to let officers into his
24
       home that “I [defendant HIGGINS] feared because of Robert FISHER’S
25
       knowledge of law enforcement procedures, tactics, use of barricades tactics and
26
       the use of firearms, he could cause a situation at his residence or during contact
27
       with V1 that could place her (V1) or law enforcement investigators in a hazardous
28
       situation”; something that was patently absurd and untrue. Said statements of false
                           THIRD AMENDED COMPLAINT FOR DAMAGES
                                            15
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 1     material facts were then maliciously used to create a bail enhancement of
 2     $100,000.00 upon plaintiff ROBERT FISHER.
 3
             58.    Thereafter, both plaintiffs ROBERT FISHER and PAULA FISHER
 4
       were transported and booked in custody at the Yucaipa sheriff’s substation for
 5
       alleged violations of California Penal Code §§ 273a(a) (felony child abuse) and
 6
       182 (conspiracy to commit a crime).
 7
             59.    During the course of February 23, 2017 incident, plaintiffs ROBERT
 8
       FISHER and PAULA FISHER, as well as plaintiffs’ minor daughter S.F., all had
 9
       cellular telephones which were seized and searched, without a warrant or probable
10
       cause, by defendants HIGGINS and/or ALLEN and/or RODRIGUEZ and/or
11
       PATTON and/or DOES 1 through 10, inclusive. In total, defendants seized and
12

13
       searched three telephones belonging to plaintiffs. Those telephones are still in the

14
       possession, custody and control of defendant deputy sheriffs and defendant

15     COUNTY.
16           60.    After being arrested and taken to jail for said bogus felony charges,
17     plaintiff ROBERT FISHER and PAULA FISHER were then questioned by
18     defendant HIGGINS, and plaintiffs refused to give statements on the advice of
19     counsel, and plaintiff requested to speak with an attorney.
20           61.    Thereafter, defendant ALLEN and/or DOES 1 through 10, inclusive,
21     authored materially facially and factually false search warrant affidavit(s) to enter
22     and search, plaintiffs’ home and a detention warrant for plaintiffs’ minor child,
23     S.F. Defendant ALLEN and/or DOES 1 through 10, inclusive, also authored
24
       materially false search warrant affidavits for the cell phone of plaintiffs’ minor
25
       daughter S.F.
26
             62.    Thereafter, defendants HIGGINS and/or ALLEN and/or PATTON
27
       and/or COSTA and/or DOES 1 through 10, inclusive, took the key to the
28
       plaintiffs’ residence and let themselves into the Fisher family home.
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          16
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 1               63.    After being seized by defendants HIGGINS and/or ALLEN and/or
 2     RODRIGUEZ and/or PATTON and/or COSTA and/or DOES 1 through 10,
 3
       inclusive, the plaintiffs’ minor children S.F. and A.F. were taken to the Yucaipa
 4
       sheriff’s substation and were again interrogated by said defendants.
 5
                 64.    Thereafter, defendants HIGGINS and/or ALLEN and/or
 6
       RODRIGUEZ and/or PATTON and/or COSTA and/or DOES 1 through 10,
 7
       inclusive, then gave custody of Plaintiffs ROBERT FISHER and PAULA
 8
       FISHER’s two minor children to defendant MILLARD, who then put the minor
 9
       children into a foster home.
10
                 65.    Thereafter, an unknown Lieutenant5 DOE deputy sheriff with the San
11
       Bernardino County Sheriff’s Department contacted Plaintiffs ROBERT FISHER’s
12

13
       employer, the Banning Police Department, and told plaintiff’s supervisor(s) that

14
       plaintiff ROBERT FISHER was arrested for refusing to cooperate with said

15     investigation—an allegation which was wholly false. This resulted in plaintiff
16     ROBERT FISHER being suspended from his employment from the Banning
17     Police Department, having to turn in his badge and service weapon, and being
18     subject of an internal affairs investigation. That investigation ultimately found that
19     plaintiff ROBERT FISHER had done nothing wrong.
20               66.    As a result of plaintiff ROBERT FISHER’s suspension from his
21     employment, plaintiff ROBERT FISHER suffered an estimated $24,701.53 in lost
22     overtime. However, said DOE Lieutenant told the Banning Police Chief Alex
23     Diaz that “This could have been handled differently.”
24
                 67.    On February 28, 2017 at 4:13 p.m. and 4:18 p.m., defendant
25
       PATTON accessed plaintiff ROBERT FISHER’s email account without a warrant
26

27

28
       5
           And / or other supervisory official.
                               THIRD AMENDED COMPLAINT FOR DAMAGES
                                                17
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 1     and forwarded eight photographs to his email account (dpatton@sbcsd.org).
 2           68.    Based upon the aforementioned events, Defendants HIGGINS,
 3
       ALLEN, COSTA and/or DOES 1 through 10 drafted investigatory reports in
 4
       which each Defendant intentionally and falsely alleged that plaintiffs PAULA
 5
       FISHER and ROBERT FISHER had committed criminal acts; to wit violations of
 6
       Cal. Pen. Code §§ 422(a) (criminal threats), 273(b) (willful cruelty to child), and
 7
       148(a)(1) (resist / delay / obstruct police officer).
 8
             69.    On October 2, 2017, based upon the police reports authored by
 9
       Defendants, the San Bernardino County District Attorney’s Office charged
10
       plaintiff PAULA FISHER under Cal. Pen. Code §§ 422(a) (criminal threats) and
11
       273(b) (willful cruelty to child).
12

13
             70.    On August 3, 2018, the San Bernardino County Superior Court, on

14
       motion of the District Attorney’s Office, dismissed all criminal charges against

15     PAULA FISHER.
16           71.    As there was no evidence of any conspiracy nor physical abuse upon
17     Plaintiffs ROBERT FISHER and PAULA FISHER’s minor children, the San
18     Bernardino County District Attorney’s Office refused to file criminal charges
19     against plaintiff ROBERT FISHER.
20           72.    Defendants HIGGINS, ALLEN, PATTON, COSTA, RODRIGUEZ,
21     MILLARD, CRISTOBAL and DOES 1 through 10, inclusive, at no point
22     performed any forensic medical or Child Abuse and Neglect (“CAN”)
23     examinations of plaintiffs’ minor child S.F., which is standard protocol for child
24
       abuse allegations.
25
             73.    Defendants HIGGINS, ALLEN, PATTON, COSTA, RODRIGUEZ,
26
       MILLARD, CRISTOBAL and DOES 1 through 10, inclusive, omitted witness
27
       statements and facts which showed that Plaintiffs ROBERT FISHER and PAULA
28
       FISHER were innocent of any crimes.
                            THIRD AMENDED COMPLAINT FOR DAMAGES
                                             18
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 1           74.    Plaintiffs’ daughter, S.F., ultimately authored a recantation letter,
 2     which was also omitted from the reports of defendants HIGGINS, ALLEN,
 3
       PATTON, COSTA, RODRIGUEZ, MILLARD, CRISTOBAL and DOES 1
 4
       through 10, inclusive.
 5
             75.    On May 1, 2017, San Bernardino County Superior Court Judge
 6
       Steven Mapes determined all of the child abuse claims to be untrue and the
 7
       juvenile court petition was dismissed.
 8

 9                            FIRST CAUSE OF ACTION
10                      UNREASONABLE SEIZURE OF PERSON
                          UNDER THE FOURTH AMENDMENT
11
                                  [42 U.S.C. § 1983]
12          (By Plaintiffs ROBERT FISHER and PAULA FISHER Against All
13
                                     Defendants)

14           76.    Plaintiffs hereby reallege and incorporate by reference the allegations
15     set forth in paragraphs 1 through 75, inclusive, above, as if set forth in full herein.
16           77.    On February 23, 2017 at approximately 6:30 p.m. on Glen Oak Road
17
       in the City of Yucaipa, under the ruse of “checking the welfare” of plaintiffs’
18
       minor daughter S.F., defendant HIGGINS, and DOES 1 through 10, inclusive,
19
       conducted a traffic stop of the plaintiff ROBERT FISHER and his wife PAULA
20
       FISHER’s car. Defendants conducted the stop without a warrant, probable cause,
21
       or a reasonable suspicion to believe that plaintiffs ROBERT FISHER and/or
22
       PAULA FISHER had committed a crime.
23
             78.    Soon thereafter, defendants ALLEN, RODRIGUEZ, PATTION and
24
       other DOES San Bernardino County deputy sheriffs arrived and also participated
25
       in the warrantless, suspicionless detention and subsequent unlawful seizure and
26

27
       false arrest of the plaintiff ROBERT FISHER and his wife PAULA FISHER.

28
             79.    Defendant HIGGINS, ALLEN, RODRIGUEZ, PATTON and/or


                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           19
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 1     DOES 1 through 10 inclusive, told the plaintiff ROBERT FISHER and his wife
 2     PAULA FISHER that they were being detained for questioning about their minor
 3
       daughter S.F. After being asked about the whereabouts of his daughter, plaintiff
 4
       ROBERT FISHER told defendant HIGGINS and DOES 1 through 10, inclusive,
 5
       that his daughter was safe at home and she was fine.
 6
             80.      Plaintiff ROBERT FISHER then asked if any of the aforementioned
 7
       arresting deputies had their belt recorders on, to which said deputies stated that
 8
       they did not. This prompted plaintiff ROBERT FISHER to attempt to start
 9
       recording the subject incident with his cell phone video recorder, which angered
10
       defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1 through
11
       10, inclusive.
12

13
             81.      Thereafter, defendant(s) HIGGINS and/or ALLEN and/or

14
       RODRIGUEZ and/or PATTON and/or DOES 1 through 10, inclusive, handcuffed

15     and falsely arrested PAULA FISHER and placed her in defendant RODRIGUEZ’
16     patrol car. While handcuffed in the back of defendant RODRIGUEZ’s patrol car,
17     defendant RODRIGUEZ told PAULA FISHER that “This was blown out of
18     proportion and could have been handled differently,” demonstrating that
19     defendant RODRIGUEZ knew that said officers were acting with deliberate
20     indifference to the rights of plaintiffs and that said unlawful seizures were done
21     with malice.
22           82.      Defendants arrested plaintiff PAULA FISHER without probable
23     cause to believe she had committed any crime.
24
             83.      After said defendants handcuffed and falsely arrested PAULA
25
       FISHER, plaintiff ROBERT FISHER then demanded to leave the unlawful
26
       detention. Plaintiff ROBERT FISHER was told by defendant HIGGINS that he
27
       was only free to go back to his residence and to let said deputies into his home and
28
       to search the same without a warrant. When plaintiff ROBERT FISHER refused
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           20
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 1     to let officers into his home, plaintiff handcuffed and falsely arrested by defendant
 2     ALLEN as retaliation for his verbal protests in violation of his First Amendment
 3
       right to protest said defendants unlawful conduct.
 4
             84.    After handcuffing and falsely arresting plaintiff ROBERT FISHER,
 5
       defendant ALLEN told plaintiff ROBERT FISHER he was being arrested for
 6
       “obstruction” of his investigation because of plaintiff ROBERT FISHER’s refusal
 7
       to consent to allow officers into his home and to search the same without a
 8
       warrant. Thus, plaintiff ROBERT FISHER was falsely and unlawfully arrested for
 9
       constitutionally protected conduct and his refusal to consent to a warrantless entry
10
       into his home in violation of his Fourth Amendment right to be free from the
11
       unlawful seizure of his person.
12

13
             85.    Thereafter, both plaintiffs ROBERT FISHER and PAULA FISHER

14
       were transported and booked at the Yucaipa sheriff’s substation for violations of

15     California Penal Code §§ 273a(a) (felony child abuse) and 182 (conspiracy to
16     commit a crime). Both charges were entirely baseless.
17           86.    Accordingly, the arrests of plaintiffs ROBERT FISHER and PAULA
18     FISHER by defendants HIGGINS and/or ALLEN and/or RODRIGUEZ and/or
19     PATTON and/or DOES 1 through 10, inclusive, constituted unreasonable seizures
20     in violation of ROBERT FISHER’s and PAULA FISHER’s right to be free from
21     unreasonable seizures of person under the Fourth Amendment to the United States
22     Constitution.
23           87.    As a result of the above-mentioned unreasonable seizures caused by
24
       defendants HIGGINS, ALLEN, PATTON, COSTA, RODRIGUEZ, MILLARD,
25
       CRISTOBAL and DOES 1 through 10, inclusive, Plaintiffs ROBERT FISHER
26
       and PAULA FISHER had their two minor children taken from them for ten
27
       weeks.
28
             88.    Moreover, as a result of the above-mentioned unreasonable seizure,
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          21
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 1     plaintiff ROBERT FISHER was terminated from his position as a Sergeant with
 2     the Banning Police Department.
 3
             89.    In addition, the above-mentioned unreasonable seizure caused
 4
       Plaintiffs ROBERT FISHER and PAULA FISHER to suffer substantial damages,
 5
       including, but not limited to, lost wages / profits and other income that plaintiff
 6
       would have earned / made / acquired while suspended from his employment, loss
 7
       of plaintiffs’ good reputation as a 23-year career law enforcement officer, bail
 8
       amounts, attorneys’ fees, the loss of three cell phones, and other special damages;
 9
       all in an amount to be shown at trial, in excessive of $10,000,000.00.
10
             90.    Said actions and omissions of the defendants, above-referenced,
11
       above-referenced, was done maliciously and in reckless disregard of ROBERT
12

13
       FISHER’s and PAULA FISHER’s constitutional rights; sufficient for an award of

14
       punitive damages against said defendants; in an amount to be shown at trial, in

15     excessive of $10,000,000.00.
16

17                          SECOND CAUSE OF ACTION
            USE OF UNREASONABLE / EXCESSIVE FORCE ON PERSON
18
                         UNDER THE FOURTH AMENDMENT
19                               [42 U.S.C. § 1983]
20
        (By Plaintiffs ROBERT FISHER and PAULA FISHER Against Defendants
          HIGGINS, ALLEN, RODRIGUEZ, PATTON And DOES 1 through 10,
21                                   inclusive)
22
             91.    Plaintiffs hereby reallege and incorporate by reference the allegations
23
       set forth in paragraphs 1 through 90, inclusive, above, as if set forth in full herein.
24
             92.    As shown above, on February 23, 2017, Plaintiffs ROBERT FISHER
25
       and PAULA FISHER were handcuffed by defendants HIGGINS and/or ALLEN
26

27
       and/or RODRIGUEZ and/or PATTON and/or DOES 1 through 10, inclusive.

28
             93.    Said handcuffing was deliberately done in a very tight, painful and


                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           22
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 1     cruel and sadistic manner with the very purposed of causing Plaintiffs ROBERT
 2     FISHER and PAULA FISHER excruciating pain and agony, as the handcuffs
 3
       were cinched down too tightly on their wrists before plaintiffs were placed in the
 4
       back of a patrol car.
 5
             94.    Accordingly, said excessive handcuffing of Plaintiffs ROBERT
 6
       FISHER and PAULA FISHER was done in violation of their right to be free from
 7
       the use of unreasonable force upon their persons under the Fourth Amendment to
 8
       the United States Constitution.
 9
             95.    As a direct and proximate result of the actions of defendants
10
       HIGGINS’ and/or ALLEN’s and/or RODRIGUEZ’s and/or PATTON’s and/or
11
       DOES 1 through 10, inclusives’ use of unlawful and unreasonable force upon
12

13
       plaintiffs by said defendants, plaintiffs ROBERT FISHER and PAULA FISHER:

14
       1) were substantially physically, mentally and emotionally injured, and suffered

15     great physical, mental and emotional injury, distress, pain and suffering; 2)
16     incurred medical and psychological costs, bills and expenses, 3) incurred
17     attorney’s fees, bail amounts and associated litigation and other related costs, and
18     4) incurred the loss of business wages and profits, 5) incurred other special and
19     general damages and expenses, in an amount to be proven at trial, in excess of
20     $10,000,000.00.
21           96.    The actions of said defendants, and each of them, as complained of
22     herein, were committed maliciously, oppressively and in reckless disregard of
23     ROBERT FISHER’s and PAULA FISHER’s constitutional rights, sufficient for
24
       an award of punitive / exemplary damages against said defendants, in an amount
25
       to be proven at trial, in excess of $10,000,000.00.
26
       //
27
       //
28
       //
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           23
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 1                          THIRD CAUSE OF ACTION
 2        UNREASONABLE SEARCH AND SEIZURE OF REAL PROPERTY
                         UNDER THE FOURTH AMENDMENT
 3
                                 [42 U.S.C. § 1983]
 4      (By Plaintiffs ROBERT FISHER and PAULA FISHER Against Defendants
        HIGGINS, ALLEN, PATTON, COSTA And DOES 1 through 10, inclusive)
 5

 6            97.     Plaintiffs hereby reallege and incorporates by reference the
 7     allegations set forth in paragraphs 1 through 96, inclusive, above, as if set forth in
 8     full herein.
 9            98.     As described above, on February 23, 2017, defendants HIGGINS
10
       and/or ALLEN and/or PATTON and/or COSTA and/or DOES 1 through 10,
11
       inclusive, after falsely arresting plaintiffs ROBERT FISHER and PAULA
12
       FISHER, said defendants obtained the key to the plaintiffs’ residence that was
13
       unlawfully seized during the course of plaintiffs’ false arrests, and let themselves
14
       into the Fisher family home while the plaintiffs’ minor children were home alone,
15
       to further unlawfully seize and search the plaintiffs’ home, and to unlawfully seize
16
       and interrogate the plaintiffs’ two minor children S.F. and A.F, and was done by
17
       said defendants with deliberate indifference and malice to the rights of plaintiffs
18
       ROBERT FISHER and PAULA FISHER.
19

20
              99.     More specifically, defendants ALLEN and/or PATTON and/or

21
       DOES 1 through 10, inclusive, authored material false statements of fact /

22     omissions of fact in his/their search warrant applications before unlawfully
23     entering and searching the home of Plaintiffs ROBERT FISHER and PAULA
24     FISHER, seizing their minor children, and seizing the cell phone of their minor
25     child S.F. while both children were at home alone.
26            100. As a direct and proximate result of the actions of defendants
27     HIGGINS’ and/or ALLEN’s and/or PATTON’s and/or COSTA’s and/or DOES 1
28     through 10, inclusive’s’ unlawful entry into and search of the plaintiffs’ private

                           THIRD AMENDED COMPLAINT FOR DAMAGES
                                            24
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 1     residence by said defendants, Plaintiffs ROBERT FISHER and PAULA FISHER:
 2     1) were substantially physically, mentally and emotionally injured, and suffered
 3
       great physical, mental and emotional injury, distress, pain and suffering; 2)
 4
       incurred medical and psychological costs, bills and expenses, 3) incurred
 5
       attorney’s fees, bail amounts and associated litigation and other related costs, and
 6
       4) incurred the loss of business wages, profits, and personalty (the loss of three
 7
       cell phones), and 5) incurred other special and general damages and expenses, in
 8
       an amount to be proven at trial, in excess of $10,000,000.00.
 9
             101. The actions of said defendants, and each of them, as complained of
10
       herein, were committed maliciously, oppressively and in reckless disregard of
11
       ROBERT FISHER’s and PAULA FISHER’s constitutional rights, sufficient for
12

13
       an award of punitive / exemplary damages against said defendants, in an amount

14
       to be proven at trial, in excess of $10,000,000.00.

15

16                          FOURTH CAUSE OF ACTION
                       DENIAL OF SUBSTANTIVE DUE PROCESS–
17
                 INTERFERENCE WITH FAMILIAL RELATIONSHIP
18                     UNDER THE FOURTEENTH AMENDMENT
                                  [42 U.S.C. § 1983]
19
        (By Plaintiffs ROBERT FISHER and PAULA FISHER Against Defendants
20         HIGGINS, ALLEN, RODRIGUEZ, COSTA, THORP, CRISTOBAL,
21
                        COUNTY and DOES 1 through 10, inclusive)

22           102. Plaintiffs hereby reallege and incorporate by reference the allegations
23     set forth in paragraphs 1 through 101, inclusive, above, as though set forth in full
24
       herein.
25
             103. As shown above, the unlawful seizure and custodial interrogation of
26
       Plaintiffs ROBERT FISHER and PAULA FISHER’s minor child S.F. on
27
       February 9, 2017 by defendants THORP, CRISTOBAL and DOES 1 through 10,
28
       inclusive, was undertaken without consent, probable cause, a protective custody
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          25
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 1     warrant, or exigent circumstances justifying interrogation of the minor child, and
 2     that the policies, practices, customs, procedures, or inadequate training of social
 3
       workers such as CRISTOBAL, and law enforcement officers such as defendants
 4
       THORP by COUNTY, were a contributing or driving force behind the action of
 5
       unlawfully detaining and interrogating the minor child at school, and exhibited a
 6
       deliberate indifference to the rights of Plaintiffs ROBERT FISHER and PAULA
 7
       FISHER.
 8
             104. Moreover, as shown above, the unlawful seizure and custodial
 9
       interrogation of Plaintiffs ROBERT FISHER and PAULA FISHER’s minor child
10
       S.F. on February 21, 2017 by defendant HIGGINS was undertaken without
11
       consent, probable cause, a protective custody warrant, or exigent circumstances
12

13
       justifying interrogation of the minor child, and that the policies, practices,

14
       customs, procedures, or inadequate training of law enforcement officers such as

15     defendants HIGGINS by COUNTY, were a contributing and driving force behind
16     the action of unlawfully detaining and interrogating the minor child at school, and
17     exhibited a deliberate indifference to the rights of Plaintiffs ROBERT FISHER
18     and PAULA FISHER, to protect their children and to their custody, society,
19     comfort and affection.
20           105. Furthermore, as shown above, the unlawful seizure and custodial
21     interrogation of plaintiffs’ minor children S.F. and A.F. on February 23, 2017 by
22     defendants HIGGINS, ALLEN, PATTON, MILLARD and DOES 1 through 10,
23     inclusive, constituted intentional interference with Plaintiffs ROBERT FISHER
24
       and PAULA FISHER’s familial relations with their minor children, and the
25
       removal of the children was done without consent, without probable cause, and
26
       with a facially defective warrant for the minor child S.F., without a warrant for the
27
       minor child A.F., and the absence exigent circumstances to justify the removal of
28
       plaintiffs’ minor children from plaintiffs’ custody; and was also done with
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           26
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 1     deliberate indifference and malice to the familial rights of Plaintiffs ROBERT
 2     FISHER and PAULA FISHER.
 3
             106. Furthermore, the continued detention of plaintiffs’ minor children on
 4
       February 23, 2017 by defendants HIGGINS, ALLEN, PATTON, MILLARD and
 5
       DOES 1 through 10, pending a trial by the juvenile court, constituted intentional
 6
       interference with Plaintiffs ROBERT FISHER and PAULA FISHER’s familial
 7
       relations with their minor children, and was also done with deliberate indifference
 8
       and malice to the familial rights of Plaintiffs ROBERT FISHER and PAULA
 9
       FISHER.
10
             107. Defendants’ continued detention of plaintiffs’ children was
11
       accomplished through the exercise of a fraud upon the court, and was in direct
12

13
       contravention of state law that required the return of plaintiffs’ children to them

14
       under Cal. Welf & Inst Code §§ 309 and 319, and was done pursuant to and on

15     account of the policies, practices, customs, procedures, or inadequate training of
16     social workers and law enforcement officers by COUNTY.
17           108. Defendants’ continued detention of plaintiffs’ minor children and/or
18     their placement with persons other than plaintiffs, from the time of their removal
19     and through the period of time until they were returned to plaintiffs, was achieved
20     by the knowing presentation of false facts and the exclusion of exculpatory facts
21     and information to the Superior Court in the juvenile dependency Petition and
22     Detention Report, in violation of Cal. Gov’t Code § 820.21.
23           109. The unreasonable seizure, removal, interrogation, and continued
24
       detention of plaintiffs’ minor children at the family home on February 23, 2017
25
       deprived the Plaintiffs ROBERT FISHER and PAULA FISHER of their right to
26
       Substantive Due Process of Law under the Fourteenth Amendment; to with their
27
       right a parent-child relationship.
28
             110. The unreasonable seizure of Plaintiffs ROBERT FISHER and
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           27
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 1     PAULA FISHER on February 26, 2017 by defendants HIGGINS, ALLEN,
 2     RODRIGUEZ, and DOES 1 through 10, inclusive that resulted in the unlawful
 3
       removal of their children from plaintiffs’ home and custody by defendants
 4
       HIGGINS, ALLEN, PATTON, MILLARD and DOES 1 through 10, inclusive,
 5
       and was done intentionally to, in part, achieve that very result, and was done with
 6
       deliberate indifference to and reckless disregard of Plaintiffs ROBERT FISHER
 7
       and PAULA FISHER’s Child – Parent Relationship, and constituted outrageous
 8
       behavior that is shocking to the conscience.
 9
             111. Said outrageous conduct of the defendants, above-referenced, also
10
       caused Plaintiffs ROBERT FISHER and PAULA FISHER to suffer substantial
11
       special damages, including but not limited to, lost wages / profits and other
12

13
       income that plaintiff would have earned / made / acquired while suspended from

14
       his employment, loss of plaintiffs’ good reputation as a 23-year career law

15     enforcement officer, bail amounts, attorneys’ fees, the loss of three cell phones,
16     and other special damages; all in an amount to be shown at trial, in excessive of
17     $10,000,000.00.
18           112. The actions of said defendants, and each of them, as complained of
19     herein, were committed maliciously, oppressively and in reckless disregard of
20     ROBERT FISHER’s and PAULA FISHER’s constitutional rights, sufficient for
21     an award of punitive / exemplary damages against said defendants, in an amount
22     to be proven at trial, in excess of $10,000,000.00.
23     //
24
       //
25
       //
26
       //
27
       //
28


                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          28
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 1                           FIFTH CAUSE OF ACTION
 2                     UNREASONABLE SEIZURE OF PROPERTY
                         UNDER THE FOURTH AMENDMENT
 3
                                 [42 U.S.C. § 1983]
 4      (By Plaintiffs ROBERT FISHER and PAULA FISHER Against Defendants
          HIGGINS, ALLEN, RODRIGUEZ, PATTON, COSTA, COUNTY and
 5
                            DOES 1 through 10, inclusive)
 6

 7
              113. Plaintiffs hereby re-allege and incorporate by reference the

 8     allegations set forth in paragraphs 1 through 112, inclusive, above, as though set
 9     forth in full herein.
10            114. As shown above, Plaintiffs ROBERT FISHER and PAULA FISHER
11     had their personal property, including two cell phones, seized from them, without
12     a warrant or probable cause or reasonable suspicion that plaintiffs had committed
13     any crime, and without any belief by defendants, reasonable or otherwise, that
14     said cell phones would contain evidence of a crime.
15            115. Moreover, said defendants also unlawfully took possession of the
16     plaintiffs’ cell phones because they contained evidence that showed some of the
17
       unlawful conduct by defendants complained of in this action.
18
              116. When plaintiff ROBERT FISHER was released from jail after being
19
       unlawfully arrested and imprisoned for numerous hours until he could post bail in
20
       the amount of $100,000.00, he was refused the return of his cell phone as a means
21
       to call someone to facilitate his departure from jail.
22
              117. Moreover, Plaintiffs ROBERT FISHER and PAULA FISHER had
23
       their minor child’s cell phone taken from them by the means of a facially
24
       defective warrant and had his cell phones taken from them in the absence of
25
       probable cause to believe that said phone contained evidence of a crime, as
26

27
       described above and below.

28
              118. In total, three cell phones were unlawfully seized by defendants


                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           29
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 1     HIGGINS, ALLEN, RODRIGUEZ, PATTON, COSTA and DOES 1 through 10,
 2     inclusive from plaintiff, and said cell phones and their electronic information
 3
       (video recording(s) of the subject incident) concerning plaintiffs’ false arrest
 4
       remain in the possession, custody and control of defendant COUNTY.
 5
             119. Defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON, COSTA
 6
       and DOES 1 through 10, inclusive, falsely arrested and imprisoned Plaintiffs
 7
       ROBERT FISHER and PAULA FISHER then forcibly seized / took three cell
 8
       phones from plaintiff on February 23, 2017.
 9
             120. More specifically, as shown above, defendants ALLEN and/or
10
       PATTON and/or DOES 1 through 10, inclusive, authored material false
11
       statements of fact / omissions of fact in his/their search warrant applications
12

13
       before unlawfully entering and searching the home of Plaintiffs ROBERT

14
       FISHER and PAULA FISHER, seizing their minor children, and seizing the cell

15     phone of their minor child S.F. while both children were at home alone.
16           121. The false arrest of Plaintiffs ROBERT FISHER and PAULA
17     FISHER by defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON, COSTA
18     and DOES 1 through 10, inclusive, constituted a seizure / an arrest of his person
19     and property under the Fourth Amendment to the United States Constitution.
20           122. However, defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON,
21     COSTA and DOES 1 through 10, inclusive, knew that plaintiff had not committed
22     any crime, yet nonetheless forcibly seized and took plaintiffs’ cell phones from
23     him; all without a warrant, with a facially defective warrant as to plaintiffs’ minor
24
       child’s cell phone, without consent or probable cause or reasonable suspicion that
25
       plaintiff had committed any crime.
26
             123. The actions of defendants HIGGINS, ALLEN, RODRIGUEZ,
27
       PATTON, COSTA, COUNTY and DOES 1 through 10, inclusive, during said
28
       February 23, 2017 incident complained of in this action, in forcibly taking
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          30
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 1     plaintiffs’ cell phones from him, and otherwise unlawful / unjustified taking of
 2     plaintiffs’ property constituted a violation of the plaintiffs’ rights to be free from a
 3
       warrantless or facially defective warrant in the taking of his property in the
 4
       absence of a warrant or absence of a valid warrant or probable cause or reasonable
 5
       suspicion that there was criminality afoot, none of which existed, under the Fourth
 6
       Amendment to the United States Constitution.
 7
             124. As a direct and proximate result of the actions of defendants
 8
       HIGGINS, ALLEN, RODRIGUEZ, PATTON, COSTA, COUNTY and DOES 1
 9
       through 10, inclusive’s unlawful seizure and search of the plaintiffs’ cell phones
10
       by said defendants, Plaintiffs ROBERT FISHER and PAULA FISHER: 1) were
11
       substantially physically, mentally and emotionally injured, and suffered great
12

13
       physical, mental and emotional injury, distress, pain and suffering; 2) incurred

14
       medical and psychological costs, bills and expenses, 3) incurred attorney’s fees,

15     bail amounts and associated litigation and other related costs, and 4) incurred the
16     loss of business wages, profits, and personalty (the loss of three cell phones), and
17     5) incurred other special and general damages and expenses, in an amount to be
18     proven at trial, in excess of $10,000,000.00.
19           125. The actions of said defendants, and each of them, as complained of
20     herein, were committed maliciously, oppressively and in reckless disregard of
21     ROBERT FISHER’s and PAULA FISHER’s constitutional rights, sufficient for
22     an award of punitive / exemplary damages against said defendants, in an amount
23     to be proven at trial, in excess of $10,000,000.00.
24
       //
25
       //
26
       //
27
       //
28
       //
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           31
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 1                          SIXTH CAUSE OF ACTION
 2                     UNREASONABLE SEARCH OF PROPERTY
                         UNDER THE FOURTH AMENDMENT
 3
                                  [42 U.S.C. § 1983]
 4      (By Plaintiff ROBERT FISHER Against Defendants PATTON and DOES 1
                                through 10, inclusive)
 5

 6           126. Plaintiffs hereby reallege and incorporate by reference the allegations
 7     set forth in paragraphs 1 through 125, inclusive, above, as though set forth in full
 8     herein.
 9           127. As shown above, on February 28, 2017 at 4:13 p.m. and 4:18 p.m.,
10
       defendant PATTON and/or DOES 1 through 10, inclusive, went into / accessed
11
       plaintiff ROBERT FISHER’s email account without a warrant and forwarded
12
       eight photographs to his email account (dpatton@sbcsd.org) in violation of
13
       plaintiffs’ Fourth Amendment right to be free from warrantless invasions /
14
       searches / seizures of plaintiffs’ electronic communications, in violation of Cal.
15
       Penal Code § 502 (Unauthorized access to computers, computer systems and
16
       computer data), in violation of the Electronic Communications Privacy Act (18
17
       U.S.C. § 2510 et seq.) and in violation of the California Electronic Privacy
18
       Communications Act (Cal Penal Code § 1546 et seq.).
19

20
             128. Said invasions of plaintiff ROBERT FISHER’s electronic

21
       communications by defendant PATTON were done without a warrant or consent

22     or probable cause or reasonable suspicion that plaintiff had committed any crime,
23     in violation of plaintiff ROBERT FISHER’s Fourth Amendment right to be free
24     from such warrantless invasions of his personal electronic communications.
25           129. As a direct and proximate result of the actions of defendants
26     PATTON and DOES 1 through 10, inclusive’s unlawful seizure and search of the
27     plaintiffs’ electronic communications by said defendants, plaintiff ROBERT
28     FISHER: 1) were substantially physically, mentally and emotionally injured, and

                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          32
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 1     suffered great physical, mental and emotional injury, distress, pain and suffering;
 2     2) incurred medical and psychological costs, bills and expenses, 3) incurred
 3
       attorney’s fees, bail amounts and associated litigation and other related costs, and
 4
       4) incurred the loss of business wages, profits, and personalty (the loss of three
 5
       cell phones), and 5) incurred other special and general damages and expenses, in
 6
       an amount to be proven at trial, in excess of $10,000,000.00.
 7
             130. The actions of said defendants, and each of them, as complained of
 8
       herein, were committed maliciously, oppressively and in reckless disregard of
 9
       ROBERT FISHER’s constitutional rights, sufficient for an award of punitive /
10
       exemplary damages against said defendants, in an amount to be proven at trial, in
11
       excess of $10,000,000.00.
12

13

14
                           SEVENTH CAUSE OF ACTION
                       RETALIATION FOR PROTECTED SPEECH
15                        UNDER THE FIRST AMENDMENT
16                               [42 U.S.C. § 1983]
        (By Plaintiffs ROBERT FISHER and PAULA FISHER Against Defendants
17
          HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1 through 10,
18                                   inclusive)
19
             131. Plaintiffs hereby reallege and incorporate by reference the allegations
20
       set forth in paragraphs 1 through 130, inclusive, above, as if set forth in full
21
       herein.
22
             132. During their detention at the hands of the above-named Defendants,
23
       Plaintiffs ROBERT FISHER and PAULA FISHER verbally protested to
24
       defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1 through
25
       10, inclusive.
26

27
             133. During this detention, plaintiff ROBERT FISHER also asked if any

28
       of the aforementioned defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON


                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           33
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 1     and DOES 1 through 10, inclusive had their belt recorders on and said defendants
 2     told plaintiff that they did not. This prompted plaintiff ROBERT FISHER to
 3
       attempt to start recording the subject incident with his cell phone video recorder,
 4
       which angered defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON and
 5
       DOES 1 through 10, inclusive.
 6
             134. In retaliation for Plaintiffs’ protests, and for Plaintiff ROBERT
 7
       FISHER’s recording of defendants, defendants HIGGINS, ALLEN,
 8
       RODRIGUEZ, PATTON and DOES 1 through 10, inclusive, falsely arrested
 9
       plaintiffs on bogus charges, including felony charges of violation of Cal. Penal
10
       Code §§ 273a(a) (felony child abuse) and 182 (conspiracy to commit a crime).
11
             135. Furthermore, at the time and date of Plaintiffs ROBERT FISHER and
12

13
       PAULA FISHER’s arrests in this matter, the policy, custom, usage and practice of

14
       the San Bernardino County Sheriff’s Department was to arrest persons who

15     exercise their First Amendment rights by verbally challenging and verbally
16     protesting police action.
17           136. Furthermore, at the time and date of plaintiff ROBERT FISHER’s
18     arrest in this matter, the policy, custom, usage and practice of the San Bernardino
19     County Sheriff’s Department was to arrest persons such as plaintiff ROBERT
20     FISHER for video recording deputy sheriffs, to seize their cell phones, and to
21     subsequently destroy any video recorded evidence of the tortious and criminal
22     conduct of San Bernardino County Sheriff’s Department deputy sheriffs.
23           137. Pursuant to the aforementioned policies, custom and practices,
24
       Defendants seized Plaintiffs’ cell phones in order to destroy any video recorded
25
       evidence of Defendants’ tortious and criminal conduct.
26
             138. To this day, Defendants have not returned Plaintiff ROBERT
27
       FISHER’s cell phone or the video recordings which it contained at the time of its
28
       seizure.
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          34
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 1           139. Persons arrested for bogus felony violations of crimes they did not
 2     commit, such persons such as Plaintiffs ROBERT FISHER and PAULA FISHER,
 3
       are routinely and systematically retaliated against by San Bernardino County
 4
       Sheriff’s Department deputy sheriffs and supervisors pursuant to said County’s
 5
       policies, practices and customs by: (1) using excessive force in handcuffing
 6
       persons who verbally challenge and protest actions of said deputies, by (2)
 7
       imposing excessive bail for non-existent felonies without any evidence that
 8
       persons who verbally challenge and protest actions of said deputies have
 9
       committed crimes, by (3) keeping persons who verbally challenge and protest
10
       actions of said deputies, locked up in a jail cell for many hours.
11
             140. Accordingly, pursuant to and because of such policies, customs and
12

13
       practices of the San Bernardino County Sheriff’s Department, ROBERT FISHER,

14
       was retaliated against by defendants (1) used excessive force upon plaintiff when

15     they handcuffed him, (2) imposed excessive bail upon plaintiff, (3) kept plaintiff
16     locked up in a jail cell for many hours, and (4) made false statements of fact to
17     plaintiffs’ employer to procure an internal affairs investigation of the plaintiff with
18     the intent to initiate disciplinary proceedings against the plaintiff and/or
19     termination of plaintiffs’ employment with the City of Banning Police
20     Department.; all for his verbal protest to and challenge to the actions of the
21     defendants against the plaintiff.
22           141. As a direct and proximate result of the actions of defendants
23     HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1 through 10, inclusive,
24
       Plaintiffs ROBERT FISHER and PAULA FISHER: 1) were substantially
25
       physically, mentally and emotionally injured, and suffered great physical, mental
26
       and emotional injury, distress, pain and suffering; 2) incurred medical and
27
       psychological costs, bills and expenses, 3) incurred attorney’s fees, bail amounts
28
       and associated litigation and other related costs, and 4) incurred the loss of
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           35
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 1     business wages, profits, and personalty (the loss of three cell phones), and 5)
 2     incurred other special and general damages and expenses, in an amount to be
 3
       proven at trial, in excess of $10,000,000.00.
 4
              142. The actions of said defendants, and each of them, as complained of
 5
       herein, were committed maliciously, oppressively and in reckless disregard of
 6
       ROBERT FISHER’s and PAULA FISHER’s constitutional rights, sufficient for
 7
       an award of punitive / exemplary damages against said defendants, in an amount
 8
       to be proven at trial, in excess of $10,000,000.00.
 9

10
                            EIGHTH CAUSE OF ACTION
11
                            MALICIOUS PROSECUTION
12           UNDER THE FOURTH AND FOURTEENTH AMENDMENT
13
                                  [42 U.S.C. § 1983]
          (By Plaintiff PAULA FISHER Against Defendants HIGGINS, ALLEN,
14                      COSTA, and DOES 1 through 10, inclusive)
15
              143. Plaintiffs hereby reallege and incorporate by reference the allegations
16
       set forth in paragraphs 1 through 142, inclusive, above, as if set forth in full
17
       herein.
18
              144. Based upon the aforementioned events, Defendants HIGGINS,
19

20
       ALLEN, COSTA and/or DOES 1 through 10 drafted investigatory reports in

21
       which each Defendant intentionally and falsely alleged, and omitted material facts

22     for purposes of alleging, that plaintiff PAULA FISHER had committed criminal
23     acts; to wit violations of Cal. Pen. Code §§ 422(a) (criminal threats) and 273(b)
24     (willful cruelty to child).
25            145. At all times described herein, Defendants HIGGINS, ALLEN,
26     COSTA and/or DOES 1 through 10 lacked probable cause to believe that plaintiff
27     PAULA FISHER had committed crimes in violation of Cal. Pen. Code §§ 422(a),
28     273(b), or any other law.

                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           36
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 1           146. Defendants HIGGINS, ALLEN, COSTA and/or DOES 1 through 10
 2     forwarded the aforementioned investigatory reports to the San Bernardino County
 3
       District Attorney’s Office for the purpose of causing plaintiff PAULA FISHER to
 4
       be criminally charged without probable cause.
 5
             147. On October 2, 2017, based upon the police reports authored by
 6
       Defendants HIGGINS, ALLEN, COSTA and/or DOES 1 through 10, the San
 7
       Bernardino County District Attorney’s Office charged PAULA FISHER under
 8
       Cal. Pen. Code §§ 422(a) (criminal threats) and 273(b) (willful cruelty to child).
 9
             148. On August 3, 2018, the San Bernardino County Superior Court, on
10
       motion of the District Attorney’s Office, dismissed all criminal charges against
11
       PAULA FISHER.
12

13
             149. Thus, because Defendants HIGGINS, ALLEN, COSTA and/or

14
       DOES 1 through 10 maliciously caused plaintiff PAULA FISHER to be

15     prosecuted without probable cause, and because that prosecution was finally and
16     favorably terminated in favor of plaintiff PAULA FISHER, the Defendants’
17     actions constituted a violation of PAULA FISHER’s Constitutional rights under
18     the Fourth and Fourteenth Amendments to be free from malicious criminal
19     prosecution.
20           150. As a direct and proximate result of the actions of Defendants
21     HIGGINS, ALLEN, COSTA, and DOES 1 through 10, inclusive, plaintiff
22     PAULA FISHER: 1) were substantially physically, mentally and emotionally
23     injured, and suffered great physical, mental and emotional injury, distress, pain
24
       and suffering; 2) incurred medical and psychological costs, bills and expenses, 3)
25
       incurred attorney’s fees, bail amounts and associated litigation and other related
26
       costs, and 4) incurred the loss of business wages, profits, and personalty (the loss
27
       of three cell phones), and 5) incurred other special and general damages and
28
       expenses, in an amount to be proven at trial, in excess of $10,000,000.00.
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          37
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 1           151. The actions of said defendants, and each of them, as complained of
 2     herein, were committed maliciously, oppressively and in reckless disregard of
 3
       PAULA FISHER’s constitutional rights, sufficient for an award of punitive /
 4
       exemplary damages against said defendants, in an amount to be proven at trial, in
 5
       excess of $10,000,000.00.
 6

 7
                              NINTH CAUSE OF ACTION
 8                          VIOLATION OF THE BANE ACT
 9        UNDER CAL. CIVIL CODE § 52.1 AND CALIFORNIA STATE LAW
           (By Plaintiffs and ROBERT FISHER and PAULA FISHER Against
10
          Defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1
11                               through 10, inclusive)
12
             152. Plaintiffs hereby reallege and incorporate by reference the allegations
13
       set forth in paragraphs 1 through 151, inclusive, above, as if set forth in full
14
       herein.
15
             153. As shown above, defendants HIGGINS and/or ALLEN and/or
16
       RODRIGUEZ, and/or PATTON and/or DOES 1 through 10, inclusive assaulted
17
       and battered Plaintiffs ROBERT FISHER and PAULA FISHER as retaliation for
18
       verbally protesting of being falsely arrested and thrown into jail and having
19

20
       excessive bail imposed upon them without a warrant or probable cause, nor even a

21
       reasonable suspicion of criminality afoot of plaintiffs.

22           154. Said actual use and threats of violence against Plaintiffs ROBERT
23     FISHER and PAULA FISHER by said defendants HIGGINS and/or ALLEN
24     and/or RODRIGUEZ, and/or PATTON and/or DOES 1 through 10, inclusive, in
25     order to coerce the plaintiffs to refrain / stop the exercise of their constitutional
26     right not to be assaulted, battered or handcuffed excessively causing physical
27     injury constituted the threatened and actual use of violence against Plaintiffs
28     ROBERT FISHER and PAULA FISHER in order to deter and prevent them from

                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           38
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 1     exercising his constitutional rights.
 2           155. The actions of defendant deputy sheriffs HIGGINS and/or ALLEN
 3
       and/or RODRIGUEZ, and/or PATTON and/or DOES 1 through 10, inclusive,
 4
       above-described, were done in retaliation for plaintiffs’ exercise of their First
 5
       Amendment rights to freedom of speech and to petition the government for
 6
       redress of grievances, his recording of said defendant deputy sheriffs, and to chill,
 7
       deter and prevent further verbal protests and complaints by plaintiffs to said
 8
       defendant deputy sheriffs about their mistreatment of the plaintiff.
 9
             156. Moreover, as shown above, said defendant deputy sheriffs HIGGINS
10
       and/or ALLEN and/or RODRIGUEZ, and/or PATTON and/or DOES 1 through
11
       10, inclusive, used unreasonable force upon the Plaintiffs ROBERT FISHER and
12

13
       PAULA FISHER; said use of unreasonable force in itself being a violation of

14
       Section 52.1.

15           157. Said defendant deputy sheriffs HIGGINS and/or ALLEN and/or
16     RODRIGUEZ, and/or PATTON and/or DOES 1 through 10, inclusive, interfered
17     with, and/or attempted to interfere with, by use of threats, intimidation, and
18     coercion, the exercise or enjoyment by plaintiffs of the rights secured by the
19     Constitution and laws of the United States, and of the rights secured by the
20     California Constitution and otherwise by California law, in violation of California
21     Civil Code § 52.1.
22           158. Said defendants HIGGINS and/or ALLEN and/or RODRIGUEZ,
23     and/or PATTON and/or DOES 1 through 10, inclusive, JOHNSON and DOES 1
24
       through 10 are liable to plaintiffs for said violations of their constitutional rights,
25
       pursuant to California Civil Code §52.1, and California Government Code §§
26
       815.2(a), 815.6, 820, 820.8.
27
             159. As a direct and proximate result of the actions of defendants
28
       HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1 through 10, inclusive,
                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           39
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 1     Plaintiffs ROBERT FISHER and PAULA FISHER: 1) were substantially
 2     physically, mentally and emotionally injured, and suffered great physical, mental
 3
       and emotional injury, distress, pain and suffering; 2) incurred medical and
 4
       psychological costs, bills and expenses, 3) incurred attorney’s fees, bail amounts
 5
       and associated litigation and other related costs, and 4) incurred the loss of
 6
       business wages, profits, and personalty (the loss of three cell phones), and 5)
 7
       incurred other special and general damages and expenses, in an amount to be
 8
       proven at trial, in excess of $10,000,000.00.
 9
              160. In addition, as a result of the actions of said defendants in violation of
10
       the plaintiffs’ rights under Cal. Civil Code § 52.1, the plaintiffs are entitled to an
11
       award of treble compensatory damages against all defendants, and each of them in
12

13
       this action.

14
              161. The actions of said defendants, and each of them, as complained of

15     herein, were committed maliciously, oppressively and in reckless disregard of
16     ROBERT FISHER’s and PAULA FISHER’s constitutional rights, sufficient for
17     an award of punitive / exemplary damages against said defendants, in an amount
18     to be proven at trial, in excess of $10,000,000.00.
19

20                           TENTH CAUSE OF ACTION
21
                       FALSE ARREST / FALSE IMPRISONMENT
                          UNDER CALIFORNIA STATE LAW
22      (By Plaintiffs ROBERT FISHER and PAULA FISHER Against Defendants
23        HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1 through 10,
                                     inclusive)
24

25             162. Plaintiffs hereby reallege and re-incorporate by reference the
26     allegations set forth in paragraphs 1 through 161, inclusive, above, as if set forth
27     in full herein.
28             163. As complained of above, Plaintiffs ROBERT FISHER and PAULA

                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           40
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 1     FISHER were unlawfully seized and arrested by defendants HIGGINS, ALLEN,
 2     RODRIGUEZ, PATTON and DOES 1 through 10, inclusive, on February 26,
 3
       2017.
 4
               164. As complained of above, said defendants HIGGINS, ALLEN,
 5
       RODRIGUEZ, PATTON and DOES 1 through 10, inclusive, had: (1) neither a
 6
       warrant nor probable cause to believe that Plaintiffs ROBERT FISHER and
 7
       PAULA FISHER had committed a crime, nor reasonable suspicion of criminality
 8
       afoot about Plaintiffs ROBERT FISHER and PAULA FISHER; (2) Plaintiffs
 9
       were actually harmed by said conduct of Defendants HIGGINS, ALLEN,
10
       RODRIGUEZ, PATTON and DOES 1 through 10, inclusive; and (3) the conduct
11
       of Defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1
12

13
       through 10, inclusive, was substantial factor in causing Plaintiffs ROBERT

14
       FISHER and PAULA FISHER harm.

15             165. Defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON and
16     DOES 1 through 10, inclusive, are liable to Plaintiffs ROBERT FISHER and
17     PAULA FISHER for their false arrests / false imprisonments pursuant to Cal.
18     Gov’t Code §§ 815.2(a), 815.6, 820, 820.4 and 820.8.
19             166. As a direct and proximate result of the actions of defendants
20     HIGGINS, ALLEN, RODRIGUEZ, PATTON and DOES 1 through 10, inclusive,
21     Plaintiffs ROBERT FISHER and PAULA FISHER: 1) were substantially
22     physically, mentally and emotionally injured, and suffered great physical, mental
23     and emotional injury, distress, pain and suffering; 2) incurred medical and
24
       psychological costs, bills and expenses, 3) incurred attorney’s fees, bail amounts
25
       and associated litigation and other related costs, and 4) incurred the loss of
26
       business wages, profits, and personalty (the loss of three cell phones), and 5)
27
       incurred other special and general damages and expenses, in an amount to be
28
       proven at trial, in excess of $10,000,000.00.
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          41
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 1               167. The actions of said defendants, and each of them, as complained of
 2     herein, were committed maliciously, oppressively and in reckless disregard of
 3
       ROBERT FISHER’s and PAULA FISHER’s constitutional rights, sufficient for
 4
       an award of punitive / exemplary damages against said defendants, in an amount
 5
       to be proven at trial, in excess of $10,000,000.00.
 6

 7
                           ELEVENTH CAUSE OF ACTION
 8                                CONVERSION
 9                        UNDER CALIFORNIA STATE LAW
        (By Plaintiffs ROBERT FISHER and PAULA FISHER Against Defendants
10
          HIGGINS, ALLEN, RODRIGUEZ, PATTON, COUNTY and DOES 1
11                                 through 10)
12
             168. Plaintiffs hereby reallege and incorporate by reference the allegations
13
       set forth in paragraphs 1 through 167, inclusive, above, as if set forth in full
14
       herein.
15
             169. As described above, Plaintiffs ROBERT FISHER and PAULA
16
       FISHER owned, possessed and had a right to possess their said personalty /
17
       property, three cell phones and the electronic information/data contained therein.
18
             170. Defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON,
19

20
       COUNTY and DOES 1 through 10, inclusive, intentionally and substantially

21
       interfered with plaintiffs’ property by taking plaintiffs’ cell phones and the

22     electronic information/data contained thereon, took possession of said property,
23     denied plaintiff access to said property, and refused to return said property after
24     plaintiffs had demanded their return from defendants. To this day, said defendants
25     have refused to return the three cell phones stolen from Plaintiffs ROBERT
26     FISHER and PAULA FISHER.
27           171. Plaintiffs did not consent to the taking of their property and were
28     harmed by such taking of their property.

                           THIRD AMENDED COMPLAINT FOR DAMAGES
                                            42
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 1           172. The conduct of defendants HIGGINS, ALLEN, RODRIGUEZ,
 2     PATTON, COUNTY and DOES 1 through 10, inclusive, above-described, was a
 3
       substantial factor in causing plaintiffs’ harm and constituted an unlawful
 4
       conversion of plaintiffs’ property, under California state law.
 5
             173. Defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON,
 6
       COUNTY and DOES 1 through 10, inclusive, and each of them, are liable to
 7
       ROBERT FISHER and PAULA FISHER for said unlawful conversion of
 8
       plaintiffs’ property, pursuant to Cal. Government Code §§ 815.2(a), 815.6, 820,
 9
       820.8 and otherwise pursuant to the common-law.
10
             174. As a direct and proximate result of the actions of defendants
11
       HIGGINS and/or ALLEN and/or RODRIGUEZ and/or PATTON and/or DOES 1
12

13
       through 10, inclusive, Plaintiffs ROBERT FISHER and PAULA FISHER: 1) were

14
       substantially physically, mentally and emotionally injured, and suffered great

15     physical, mental and emotional injury, distress, pain and suffering; 2) incurred
16     medical and psychological costs, bills and expenses, 3) incurred attorney’s fees,
17     bail amounts and associated litigation and other related costs, and 4) incurred the
18     loss of business wages, profits, and personalty (the loss of three cell phones), and
19     5) incurred other special and general damages and expenses, in an amount to be
20     proven at trial, in excess of $10,000,000.00.
21           175. The actions of said defendants, and each of them, as complained of
22     herein, were committed maliciously, oppressively and in reckless disregard of
23     ROBERT FISHER’s and PAULA FISHER’s constitutional rights, sufficient for
24
       an award of punitive / exemplary damages against said defendants, in an amount
25
       to be proven at trial, in excess of $10,000,000.00.
26
       //
27
       //
28
       //
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          43
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 1                        TWELFTH CAUSE OF ACTION
 2                           INVASION OF PRIVACY
          UNDER THE CALIFORNIA CONSTITUTION AND CALIFORNIA
 3
                                    STATE LAW
 4      (By Plaintiff ROBERT FISHER Against Defendant PATTON and DOES 1
                                through 10, inclusive)
 5

 6           176. Plaintiffs hereby reallege and incorporate by reference the allegations
 7     set forth in paragraphs 1 through 175, inclusive, above, as if set forth in full
 8     herein.
 9           177. As shown above, on February 28, 2017 at 4:13 p.m. and 4:18 p.m.,
10
       defendant PATTON and/or DOES 1 through 10, inclusive, accessed without
11
       consent, authorization, a warrant or probable cause, plaintiff ROBERT FISHER’s
12
       email account and forwarded eight photographs to his San Bernardino County
13
       Sheriff’s Department email account (dpatton@sbcsd.org) in violation of plaintiffs’
14
       Fourth Amendment right to be free from warrantless invasions of plaintiffs’
15
       electronic communications, and in violation of California Penal Code § 502
16
       (Unauthorized access to computers, computer systems and computer data); which
17
       electronic communications are also protected by the Electronic Communications
18
       Privacy Act (18 U.S.C. § 2510 et seq.) and the California Electronic Privacy
19

20
       Communications Act (Cal Penal Code § 1546 et seq.).

21
             178. At the time of the unauthorized access into plaintiff ROBERT

22     FISHER’s email account, defendant PATTON and/or DOES 1 through 10,
23     inclusive, was acting under the color of state law, in his official capacity as a San
24     Bernardino County Sheriff’s Department deputy sheriff.
25           179. Said unauthorized access by defendant PATTON and/or DOES 1
26     through 10, inclusive, constitutes two felonies pursuant to California Penal Code §
27     502(d)(1), and plaintiff ROBERT FISHER was sufficiently damaged by said
28     intrusions and unauthorized access into his personal email by having felonies

                          THIRD AMENDED COMPLAINT FOR DAMAGES
                                           44
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 1     committed against him without a warrant, consent, authorization, probable cause
 2     or reasonable suspicion of criminality afoot of plaintiff.
 3
             180. Thus, under the facts set forth above, Plaintiff ROBERT FISHER had
 4
       a reasonable expectation of privacy in his e-mail account.
 5
             181. As set forth above, Defendants intentionally intruded upon the
 6
       expectation of privacy which plaintiff ROBERT FISHER enjoyed in his e-mail
 7
       account.
 8
             182. Defendants’ intrusion into plaintiff’s e-mail account would be
 9
       offense to a reasonable person.
10
             183. Defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON,
11
       COUNTY and DOES 1 through 10, inclusive, and each of them, are liable to
12

13
       ROBERT FISHER for said unlawful invasion of plaintiffs’ privacy, pursuant to

14
       Cal. Government Code §§ 815.2(a), 815.6, 820, 820.8 and otherwise pursuant to

15     the common-law.
16           184. As a direct and proximate result of the actions of defendant PATTON
17     and/or DOES 1 through 10, inclusive, plaintiff ROBERT FISHER was: 1)
18     substantially physically, mentally and emotionally injured, and suffered great
19     physical, mental and emotional injury, distress, pain and suffering and loss of
20     reputation and good will within his police department; 2) incurred medical and
21     psychological costs, bills and expenses, 3) incurred attorney’s fees, bail amounts
22     and associated litigation and other related costs, and 4) incurred the loss of
23     business wages, profits, and personalty (the loss of three cell phones), and 5)
24
       incurred other special and general damages and expenses, in an amount to be
25
       proven at trial, in excess of $10,000,000.00.
26
             185. Defendants’ conduct was a substantial factor in causing the
27
       aforementioned harms to plaintiff ROBERT FISHER.
28
             186. The actions of said defendants, and each of them, as complained of
                         THIRD AMENDED COMPLAINT FOR DAMAGES
                                          45
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 1     herein, were committed maliciously, oppressively and in reckless disregard of
 2     ROBERT FISHER’s constitutional rights, sufficient for an award of punitive /
 3
       exemplary damages against said defendants, in an amount to be proven at trial, in
 4
       excess of $10,000,000.00.
 5

 6
                            THIRTEENTH CAUSE OF ACTION
 7             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 8                          UNDER CALIFORNIA STATE LAW
             (By Plaintiffs ROBERT FISHER and PAULA FISHER Against All
 9                                    Defendants)
10
              187. Plaintiffs hereby re-allege and re-incorporate by reference the
11
       allegations set forth in paragraphs 1 through 186, inclusive, above, as if set forth
12

13
       in full herein.

14
              188. Defendants HIGGINS, ALLEN, PATTON, COSTA, RODRIGUEZ,

15     MILLARD, CRISTOBAL, COUNTY and DOES 1 through 10, inclusive, and
16     each of them, knew and/or should have known that plaintiffs ROBERT FISHER
17     and PAULA FISHER were susceptible to suffering severe emotional distress from
18     defendants’ actions as complained of above and herein.
19            189. Moreover, the conduct of said defendants, for all of the incidents
20     complained of herein, were outrageous and not the type of conduct condoned in a
21     civilized society.
22            190. Defendants HIGGINS, ALLEN, RODRIGUEZ, PATTON,
23     COUNTY and DOES 1 through 10, inclusive, and each of them, are liable to
24
       ROBERT FISHER and PAULA FISHER pursuant to Cal. Government Code §§
25
       815.2(a), 815.6, 820, 820.8 and otherwise pursuant to the common-law.
26
              191. As a direct and proximate result of the actions of defendant
27
       HIGGINS, ALLEN, PATTON, COSTA, RODRIGUEZ, MILLARD,
28
       CRISTOBAL, COUNTY and DOES 1 through 10, inclusive, Plaintiffs ROBERT
                            THIRD AMENDED COMPLAINT FOR DAMAGES
                                             46
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 1     FISHER and PAULA FISHER: 1) were substantially physically, mentally and
 2     emotionally injured, and suffered great physical, mental and emotional injury,
 3
       distress, pain and suffering and loss of reputation and good will within his police
 4
       department; 2) incurred medical and psychological costs, bills and expenses, 3)
 5
       incurred attorney’s fees, bail amounts and associated litigation and other related
 6
       costs, and 4) incurred the loss of business wages, profits, and personalty (the loss
 7
       of three cell phones), and 5) incurred other special and general damages and
 8
       expenses, in an amount to be proven at trial, in excess of $10,000,000.00.
 9
                192. The actions by said defendants were committed maliciously and
10
       oppressively and constituted despicable conduct; sufficient for an award of
11
       punitive / exemplary damages against all defendants and each of them, save
12

13
       defendant COUNTY, in an amount to be proven at trial in excess of

14
       $5,000,000.00.

15              WHEREFORE, plaintiff prays for judgment as follows:
16              a)    For a judgment against all defendants for compensatory damages in
17     an amount in excess of $10,000,000.00; trebled to $30,000,000.006;
18              b)    For a judgment against all defendants, save defendant COUNTY for
19     punitive damages in an amount in excess of $10,000,000.00;
20              c)    For an award of reasonable attorney’s fees and costs;
21              d)    For a trial by jury; and
22              e)    For such other and further relief as this honorable court deems just
23     and equitable.
24
                                                 /s/ Jerry L. Steering                      .
                                                  JERRY L. STEERING
25                                                Attorney for Robert Fisher and Paula Fisher
26

27

28
       6
           Pursuant to plaintiffs’ Section 52.1 claim.
                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 PROOF OF SERVICE

        I declare that I am employed in the County of Orange, State of California. I am
 over the age of eighteen years and not a party to the within cause, and my business
 address is 4063 Birch Street, Suite 100, Newport Beach, CA 92660.

       On, September 29, 2018, I served the attached:

                         THIRD AMENDED COMPLAINT

  Risa Su Christensen                           Dennis E Wagner
  Wagner and Pelayes LLP                        Wagner and Pelayes LLP
  1325 Spruce Street Suite 200                  1325 Spruce Street Suite 200
  Riverside, CA 92507                           Riverside, CA 92507




 ( ) BY PERSONAL SERVICE

 (X) BY EMAIL VIA E-FILING

       I declare under penalty of perjury, under the laws of the United States of
 America, that the foregoing is true and correct. This the 29th day of September 2018,
 at Newport Beach, California.

                                                     _s/_Brenton W. Aitken Hands___
                                                     BRENTON W. AITKEN HANDS




                                            	
